Case 2:05-cr-20108-SH|\/| Document 18 Filed 08/22/05 Page 1 of 2 Page|D 18

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UNITED STATES OF AMERICA, d
Plaintiff,

vs. CR. NO. 05-20108-Ma

ALFRED JAMISON,

Defendant.

 

ORDER ON CONTINUANCE lAI\TD SPECIFYING PERIOD OF EXCLU'.DABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from July 22, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

210\

IT IS SO ORDERED this day of August, 2005.

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20108 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Stephanie Zander Johnson
U S ATTORNEY'S OFFICE
167 N. Main St

Ste 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

